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 1                                                                  HONORABLE THOMAS S. ZILLY

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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10   HUNTERS CAPITAL, LLC, et al.,                     Case No. 20-cv-00983-TSZ

11                          Plaintiffs,                CITY OF SEATTLE’S MOTION TO SEAL
                                                       CERTAIN EXHIBITS TO THE
12              v.                                     DECLARATION OF SHANE P. CRAMER IN
                                                       SUPPORT OF THE CITY’S MOTION FOR
13   CITY OF SEATTLE,                                  SPOLIATION SANCTIONS

14                          Defendant.                 NOTE ON MOTION CALENDAR:
                                                       OCTOBER 14, 2022
15

16                                        I.   RELEF REQUESTED

17          Concurrent with this motion, Defendant City of Seattle is filing its Motion for Spoliation

18   Sanctions Against Plaintiffs Hunters Capital, Richmark Label, Matthew Ploszaj, Car Tender,

19   Bergman’s Lock & Key, Wade Biller, and Onyx Homeowners Association (“Sanctions Motion”)

20   and the Declaration of Shane P. Cramer in Support of City of Seattle’s Sanctions Motion (“Cramer

21   Declaration”). Both the Sanctions Motion and the Cramer Declaration cite to and rely on

22   documents and deposition excerpts that Plaintiffs and certain third parties represented by Plaintiffs’

23   counsel have designated as “Confidential” under the terms of the Stipulated Protective Order

24   entered in this case (Dkt. No. 41). Pursuant to Local Civil Rule 5(g) and the Stipulated Protective

25   Order, the City is provisionally filing its Motion and the Cramer Declaration under seal, pending


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 1   the Court’s ruling on this motion. As detailed below, it is Plaintiffs’ responsibility, as the

 2   designating party, to provide a basis for maintaining under seal each of the provisionally sealed

 3   documents.

 4                                          II.      CERTIFICATION

 5           In accordance with LCR 5(g)(3)(A), undersigned counsel certify that Shane Cramer and

 6   Erica Iverson (on behalf of the City) and Tyler Weaver and Gabe Reilly-Bates (on behalf of

 7   Plaintiffs) met and conferred in good faith on September 27, 2022 (telephonic), September 28,

 8   2022 (via email), and September 29, 2022 (via email), regarding the need to file the City’s

 9   Sanctions Motion and certain exhibits to the Cramer Declaration under seal, ways to potentially

10   minimize the amount of material filed under seal, and whether redaction or other alternatives to

11   filing the under seal would suffice.

12                                   III.         FACTS AND AUTHORITY

13           LCR 5(g)(3)(B) provides that where, as here, parties have entered into a stipulated

14   protective order, “a party wishing to file a confidential document it obtained from another party in

15   discovery may file a motion to seal but need not” provide a “specific statement of the applicable

16   legal standard and the reasons for keeping the document under seal.” The terms of the Stipulated

17   Protective Order entered in this case require that “the designating party . . . identify the basis for

18   sealing the specific confidential information at issue” and “the filing party . . . include this basis in

19   its motion to seal, along with any objection to sealing the information at issue.” Dkt. 41 at p. 4.

20           Plaintiffs designated as “Confidential” (see Dkt. 41) certain documents and deposition

21   transcripts on which the City relies to in its Sanctions Motion (Dkt. 65). As part of the Parties’

22   communications on this issue, and in order to limit the number of documents that would need to be

23   filed under seal, Plaintiffs removed the confidentiality designations from a number of documents.

24   The City also limited the number of pages it planned to submit from various documents that had

25   been designated as confidential by Plaintiffs in order to reduce the amount of material being filed


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 1   under seal.

 2          Plaintiffs’ counsel requested that Exhibit 10 be sealed in its entirety because counsel

 3   contends it contains “sensitive information about third parties.”

 4          It is not the City’s obligation to establish the propriety of any of Plaintiffs’ confidentiality

 5   designations. The City anticipates that in their response to this motion, Plaintiffs will lay out the

 6   reasons why they believe Exhibit 10 should remain sealed. LCR 5(g)(3)(B) (the designating party

 7   has an obligation “in its response to the motion to seal” to provide “a specific statement of the

 8   applicable legal standard and the reasons for keeping a document under seal, with evidentiary

 9   support from declarations where necessary”). The City will address any issues it has with those

10   bases on reply.

11                                          V.      CONCLUSION

12          For the foregoing reasons, the City respectfully requests that the Court determine whether

13   the documents designated as “Confidential” by Plaintiffs should remain under seal. A proposed

14   order accompanies this motion.

15          DATED this 29th day of September, 2022.

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